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WESTERN DlSTRlCT OF TENNESSEE

MEMPHIS DlVlSlON 05 mw _~
UNITED STATES OF AMERICA ROBFR_E. Rl m _UOLEO
cl._r:filg,r _ s g;i§f}chA
_v_ 2:04CR20167_01_M| ‘-N.D. i,'r' l!'~l, !\!.:l‘m Hl:)

ADR|AN BROOM
Marvin Ballin. Retained
Defense Attorney
200 Jefferson Avenue, Suite 1250
Memphis, TN 38103

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 1 and 2 of the |ndictment on July 7, 2004.
Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title & Section dam Offense _NM(§)
` Concluded
21 U.S.C. § 841 (a)(1) Distribution of Marijuana 11/14)'2003 1
21 U.S.C. § 841(3)(1) Possession With lntent to Distribute 11/21/2003 2

lVlarijuana

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Restitution Act of 1996.

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of lmposition of Sentence:
Defendant’s Date of Birth: 07/19/1978 May 6, 2005
Deft’s U.S. l\/|arshal No.: 16323-076

Defendant’s l\/lailing Address:

3721 White Birch Drive
l\/lemphis, TN 38115

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ON Pl-|lPPS l\/lcCALLA
UN| ATES DlSTRlCT JUDGE

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Case No: 2:04CR20167-01-IV|| Defendant Name'. Adrian BROO|V| Page 2 of 4
lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 60 Months (or 5 Years) as to Count 1; 60 Months
(or 5 Years) as to Count 2. Counts 1 and 2 are to be served consecutively with each
other for a total term of incarceration of 120 Months (or 10 Years) and consecutive to
the Supervised Re|ease Violation in indictment 2:980R20053-01.

The Court recommends to the Bureau of Prisons: the defendant be allowed to
participate in the 500-hour intensive drug rehabilitation treatment program while
incarcerated

The defendant is remanded to the custody of the United States Marsha|.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES lVlARSHAL
By:

 

Deputy U.S. Nlarshal

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SUPERV|SED RELEASE

Upon release from imprisonment1 the defendant shall be on supervised release for
a term of 2 Years as to Count 1 and 2 Years as to Count 2. Counts 1 and 2 are to be
supervised concurrently with each other for a total term of supervision of 2 Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substancel The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial districtwithout the permission of the court or probation officer;

2, The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month',

3. The defendant shall answer truthful all inquiries by the probation ofhcer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation ocher ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| lVlonetary Penalties sheet of thisjudgment.

ADDlTlONAL CONDIT|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Office.

2. The defendant shall seek and maintain full-time employment

3. The defendant shall cooperate with DNA collection as directed by the Probation Office.
CRlMlNAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
options in the Schedule of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$200.00

The Special Assessment shall be due immediatelyl

FlNE
No fine imposed.

REST|TUT|ON
No Restitution was ordered.

   

UNITED sTATE DRISTIC COURT - WE TERN DSRTCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 55 in
case 2:04-CR-20167 Was distributed by faX, mail, or direct printing on
May ]2, 2005 to the parties listed.

 

 

Marvin E. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

l\/lemphis7 TN 38103

Scott F. Leary

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l on McCalla
US DlSTRlCT COURT

